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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) 1:10-CR-00379 AWI
                                        ) 5:10-MJ-00047 JLT
12                                      )
                    Plaintiff,          )
13                                      )
          v.                            ) MOTION TO DISMISS AND RECALL
14                                      ) ARREST WARRANT AND
                                        ) ORDER
15                                      )
     PABLO DIMAS RIVERA,                )
16                                      )
                                        )
17                                      )
                    Defendant.          )
18   ___________________________________)

19        The United States of America, by and through its attorneys,

20   BENJAMIN B. WAGNER, United States Attorney, and KAREN A. ESCOBAR,

21   Assistant United States Attorney, hereby submits this written

22   motion and proposed order, in light of the following:

23        1.   On August 26, 2010, U.S. Magistrate Judge Jennifer L.

24   Thurston authorized a criminal complaint and issued an arrest

25   warrant for the above-named defendant.        The defendant was one of

26   five charged via criminal complaint.

27        2. On September 2, 2010, co-defendants Guillermo Diaz, aka

28   Joaquin Beltran, and Salvador Rivera made an initial appearance.

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 1   At that time, the government orally moved to dismiss the charges

 2   and recall the warrant as to Pablo Rivera.        The Magistrate Judge

 3   granted the oral motion; however, the docket does not reflect the

 4   oral order.

 5        3.   The defendant was not charged with his co-defendants by

 6   Indictment.

 7        4.   The U.S. Attorney’s Office is in the process of closing

 8   this matter.   However, the matter cannot be closed without a

 9   docket entry reflecting dismissal.

10        Accordingly, the government hereby moves for an written order

11   dismissing this matter and recall the warrant.

12   DATED: September 13, 2012                   Respectfully submitted,

13                                               BENJAMIN B. WAGNER
                                                 United States Attorney
14
                                                 By: /s/ Karen A. Escobar
15                                                 KAREN A. ESCOBAR
                                                 Assistant U.S. Attorney
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17
                                   O R D E R
18
          Having read and considered the foregoing,
19
          IT IS THE ORDER of the Court that the above-captioned matter,
20
     as to defendant Pablo Dimas Rivera only, is dismissed and the
21
     arrest warrant is recalled.
22
     IT IS SO ORDERED.
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24   Dated:        September 14, 2012
     0m8i78                       CHIEF UNITED STATES DISTRICT JUDGE
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